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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 G&G CLOSED CIRCUIT EVENTS, LLC,                     §
 as Broadcast Licensee of the May 6, 2017            §
 Saul Alvarez v. Julio Cesar Chaves, Jr. Super       §
 Middleweight Championship Fight Program,            §
                                                     §
          Plaintiff,                                 §
                                                     §
 V.                                                  §    Civil Action No. 4:20-cv-01536
                                                     §
 1) EL IMPRESARIO, INC. individually, and            §
 d/b/a O BAR HOUSTON and d/b/a O BAR                 §
 DISCOTHEQUE and d/b/a O BAR and d/b/a               §
 EL KORRAL HOUSTON and d/b/a VIP                     §
 LOUNGE; and                                         §
 2) JAIME A. ORTEGA, individually, and               §
 d/b/a O BAR DISCOTHEQUE and d/b/a O                 §
 BAR and d/b/a EL KORRAL HOUSTON and                 §
 d/b/a VIP LOUNGE                                    §
                                                     §
          Defendants.                                §


          DEFENDANTS’ MOTION TO WITHDRAW DEEMED ADMISSIONS

        COMES NOW, EL IMPRESARIO, INC. individually and d/b/a O BAR

DISCOTHEQUE and d/b/a O BAR and d/b/a EL KORRAL HOUSTON and d/b/a VIP

LOUNGE and JAIME ORTEGA, individually, and d/b/a O BAR DISCOTHEQUE and d/b/a

O BAR and d/b/a EL KORRAL HOUSTON and d/b/a VIP LOUNGE, Defendants, and files

this Motion to Set Aside/Withdraw Deemed Admissions, and would show as follows:


                                Introduction and Summary

1.      Plaintiff brought suit alleging that Defendants illegally broadcast a pay-per-view,

televised event.
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2.     Plaintiff’s counsel, David Diaz, filed various requests for discovery, including

Requests for Admissions to both Defendants on October 23, 2020. The deadline to respond to

the discovery requests was extended by written agreement until December 18, 2020.

3.     On Thursday, December 11, 2020, my wife became ill. Over the next few days her

symptoms grew worse and she eventually tested positive for COVID-19. Attached to this

motion is a copy of her test results as Exhibit “A”. This led to a temporary shutdown of my

office and a quarantine at home pursuant to CDC Guidelines. Clyde W. Burleson, P.C. is a

small/solo practice firm with one attorney. The shutdown of the office and the quarantine at

home caused more disruption to the practice than anticipated. During this time, I handed off

several projects to a lawyer who does occasional contract work for me. I thought I had

included the discovery in this case. It turns out I did not. I should have realized my error

sooner, but I did not become aware of it until Plaintiff filed its Motion for Summary Judgment.

The two and a half week shut down of my office following the positive COVID-19 test, caused

a number of issues/emergencies and, unfortunately, this went unnoticed. This was not an

intentional act, nor was it caused by conscious indifference, rather it was the result of an

accident or mistake that came about during the confusion of what to do after a family member

becomes sick with COVID-19 and the problems that occurred by the shutdown of the practice..

4.     All Requests for Admissions have been answered and served upon counsel for

Plaintiff. I have attached copies of the responses to this motion as Exhibit “B” and “C”

                                  Argument and Authority

3.     Rule 36 of the Federal Rules of Civil Procedure provides in part, that a party may seek

to withdraw deemed admissions. The Rule further states that, “a court may permit the

withdrawal if it would promote the presentation of the merits of the action.”
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4.         Should Defendants not be permitted to withdraw the deemed admissions, the

presentation of the merits of this case will suffer because the case will be decided upon

deemed, but untrue, facts. The deemed admissions prove every element of Plaintiff’s case and

state that my clients willfully violated Plaintiff’s rights. This is not true. Even from a more

granular view, the deemed admissions twist facts supplied by Plaintiff into something untrue.

For example, in Plaintiff’s First Requests for Admission to Defendant Jaime A. Ortega,

Defendant is asked to admit or deny the following: “On the night of the Event, while the Event

was being shown at the Establishment, there was “On the night of the Event, while the Event

was being shown at the Establishment, a minimum of 100 patrons viewing the Event.” 1

Because of counsel for Defendants error, this request is now deemed admitted. However, this

statement is not true and is contradicted by Plaintiff’s own witness. As set out in the affidavit

of Kwasi English, an individual hired by Plaintiff to investigate illegal broadcasts of the

licensed event, the actual number of people in the establishment varied from 19 to 37. That

affidavit is attached to this motion as Exhibit “D”. Should these and the other admissions

stand, this case will turn on the error of an attorney and not the merits and facts of the case.

5.         Defendants assert that Plaintiff will not be prejudiced should this motion be granted.

The only motion Plaintiff has filed in this case is a Motion for Summary Judgment, which was

filed just recently. That Motion could be set for a later date, and a Motion to Continue that

hearing will be filed today by Defendants. No depositions have been conducted. This matter

is on its first trial setting and the discovery period has not even closed. If Plaintiff’s counsel

has incurred attorney’s fees as a result of my mistake, a check will be issued immediately by

to cover those expenses.



1
    Plaintiff’s First Request for Admissions to Jaime A. Ortega No. 77
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6.     WHEREFORE, PREMISES CONSIDERED, Defendants pray that this Court grant

their Motion to Withdraw Deemed Admissions.


                                        Respectfully submitted,

                                        CLYDE W. BURLESON, P.C.

                                               /S/ Clyde Burleson
                                        By:
                                        Clyde Burleson
                                        Attorney-in-charge
                                        SBN: 00796278
                                        SDID: 754365
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                                        Clyde W. Burleson, P.C.
                                        1533 W. Alabama, Ste. 100
                                        Houston, Texas 77006
                                        Telephone:    (713) 526-2226
                                        Facsimile:    (713) 526-3787
                                        Attorney for Defendants
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                             CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing has been sent by certified mail, return receipt
requested, to all parties as shown below on February 8, 2021, unless otherwise served by the
CM/ECF system.



                                                    /s/ Clyde Burleson
                                                    ______________________________
                                                    Clyde Burleson


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       Attorney-in-charge
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       Attorneys for Plaintiff
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 d/b/a VIP LOUNGE                                  §
                                                   §
          Defendants.                              §



      ORDER ON DEFENDANTS’ MOTION TO SET ASIDE DEEMED ADMISSIONS



        On ______________________, 2021, the Court considered the Defendants’ Motion

to Withdraw Deemed Admissions, and the Court finds that the Motion should be:




                        (GRANTED)                       (DENIED)




                                            ______________________________
                                            Judge Presiding
